            Case 1:23-cr-00032 Document 1-1 Filed 01/12/23 Page 1 of 5




                                   STATEMENT OF FACTS

        Your affiant, Arnesha Bahn, is a Special Agent assigned to the Bureau of Alcohol,
Tobacco, Firearms & Explosives, and is a Task Force Officer with the Federal Bureau of
Investigation. In my duties as a Task Force Officer, I investigate criminal violations related to
activity in and around the Capitol grounds on January 6, 2021. Currently, I am tasked with
investigating criminal activity in and around the Capitol grounds on January 6, 2021. As a Task
Force Officer, I am authorized by law or by a government agency to engage in or supervise the
prevention, detection, investigation, or prosecution of a violation of Federal criminal laws.

        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification were allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in separate chambers of the United States Capitol to certify the vote count of the Electoral
College of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint
session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the
House and Senate adjourned to separate chambers to resolve a particular objection. Vice President
Mike Pence was present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

        At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol
Police attempted to maintain order and keep the crowd from entering the Capitol; however, around
2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking
windows and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged
and assisted those acts.

       Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.
            Case 1:23-cr-00032 Document 1-1 Filed 01/12/23 Page 2 of 5




        During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.

        On January 18, 2021, an anonymous citizen (T-1) submitted to the FBI’s tip line a video
that had been posted to the Facebook page of username “facebook.com/seandennison1,”
subsequently identified as VICTOR SEAN DENNISON. T-1 said he got the video from
DENNISON’S Facebook friend. T-1 does not know DENNISON. In the video clip that T-1
submitted, DENNISON said that he entered the U.S. Capitol building on January 6, 2021. The
video appears to have been filmed in the Washington D.C. area. DENNISON is wearing a gray
puff-jacket and a baseball cap with the slogan “ALL ABOARD THE TRUMP TRAIN” stitched
on it. A still of the video clip is below. DENNISON is on the left.




                                           Photograph 1

        During the investigation, the FBI also identified a photograph, copied below, of
DENNISON, posted to a third party’s Facebook account, which depicts DENNISON wearing red-
tinted sunglasses, as well as the same gray puff-jacket and baseball cap worn in the video clip
mentioned above. Based on the background of the photographs, DENNISON appears to be in
Washington, D.C.
            Case 1:23-cr-00032 Document 1-1 Filed 01/12/23 Page 3 of 5




                                           Photograph 2

        On June 9, 2021, the FBI interviewed DENNISON by telephone. DENNISON stated that
he traveled to Washington D.C. to attend a pro-Trump rally, which was scheduled for January 6,
2021. He further stated that, after attending President Trump’s speech at the Ellipse near the White
House, DENNISON walked to the U.S. Capitol building with a large crowd. DENNISON said
that his cellphone service was bad and that the service seemed to be, “All jammed up,” due to
everyone streaming and taking videos. DENNISON stated that he then noticed a group at one of
the doors that had been breached. He observed a man with a hammer in his hand and then noticed
that a window had been smashed next to the door. DENNISON admitted to investigators that he
entered the U.S. Capitol building after noticing the doors had been breached. DENNISON also
admitted to seeing Capitol Police dressed in riot gear inside the Capitol building. DENNISON
told the interviewing agents that he exited the Capitol building after hearing someone state,
“They’re going to start shooting people.” DENNISON said the statement frightened him.
DENNISON said that upon exiting the Capitol, he attempted to call a companion but noticed that
his cellphone battery was dead.

        DENNISON also confirmed that on January 7, 2021, he made a video of himself and
another individual in front of the U.S. Supreme Court, in which they described their experiences
the day before, including DENNISON’S entry into the U.S. Capitol building. In the video,
DENNISON’s companion stated, “We’re like ok, we’re in and we’re making headway and we’re
getting in, and the cops are now backing off and that’s a symbol that we’re winning.” DENNISON
interjected with, “Ok, so here’s some more on that . . . the point she’s talking about, I had already
gone inside, and I had a chance to inspect the scene and decided to remove myself from the area.”

        Through a review of closed-circuit television within the U.S. Capitol Building (otherwise
referred to as “CCTV”) footage, the FBI also identified DENNISON entering the U.S. Capitol
building on January 6, 2021. The footage shows DENNISON enter the U.S. Capitol building at
2:49 p.m. and exit at 2:51 p.m. EST. Dennison entered and exited the building through the Senate
Wing Door, an area of the Capitol Building elevated above ground level and accessible through
exterior stairs. At approximately 2:14 p.m., rioters broke open a window adjacent to the Senate
            Case 1:23-cr-00032 Document 1-1 Filed 01/12/23 Page 4 of 5




Wing Door, climbed through the window, and forced the door open from inside the building. Stills
from the Capitol surveillance footage, depicting Dennison entering the Capitol building through
the Senate Wing Door, are below. DENNISON is circled in red. Notably, DENNISON is wearing
the same distinctive clothing as in the photographs copied above.




                                         Photograph 3




                                         Photograph 4

        The FBI took three further steps to identify DENNISON. First, I compared his California
driver license photograph to the photographs above and concluded the photographs appear to
            Case 1:23-cr-00032 Document 1-1 Filed 01/12/23 Page 5 of 5




match. Second, on May 20, 2021, DENNISON was interviewed by a U.S. Customs and Border
Protection (“CBP”) officer while attempting to cross the U.S.-Mexico border. On August 10,
2021, the FBI showed the same CBP officer a screen capture of DENNISON from January 6, 2021
(Photo 2 above). The CBP Officer confirmed the man in the photograph was DENNISON. Third,
on November 18, 2021, the FBI showed the same CBP Officer surveillance footage from Capitol
CCTV (screenshots of which are copied above), showing DENNISON inside the U.S. Capitol
building on January 6, 2021. The CBP Officer confirmed the individual in the blue hat and red
sunglasses was DENNISON.

        Based on the foregoing, your affiant submits that there is probable cause to believe that
DENNISON violated 18 U.S.C. § 1752(a)(1) and (2), which makes it a crime to (1) knowingly
enter or remain in any restricted building or grounds without lawful authority to do; and (2)
knowingly, and with intent to impede or disrupt the orderly conduct of Government business or
official functions, engage in disorderly or disruptive conduct in, or within such proximity to, any
restricted building or grounds when, or so that, such conduct, in fact, impedes or disrupts the
orderly conduct of Government business or official functions; or attempts or conspires to do so.
For purposes of Section 1752 of Title 18, a “restricted building” includes a posted, cordoned off,
or otherwise restricted area of a building or grounds where the President or other person protected
by the Secret Service, including the Vice President, is or will be temporarily visiting; or any
building or grounds so restricted in conjunction with an event designated as a special event of
national significance.

        Your affiant submits there is also probable cause to believe that DENNISON violated 40
U.S.C. § 5104(e)(2)(D) and (G), which makes it a crime to willfully and knowingly (D) utter loud,
threatening, or abusive language, or engage in disorderly or disruptive conduct, at any place in the
Grounds or in any of the Capitol Buildings with the intent to impede, disrupt, or disturb the orderly
conduct of a session of Congress or either House of Congress, or the orderly conduct in that
building of a hearing before, or any deliberations of, a committee of Congress or either House of
Congress; and (G) parade, demonstrate, or picket in any of the Capitol Buildings.


                                                      _________________________________
                                                      ARNESHA BAHN
                                                      BUREAU OF ALCOHOL, TOBACCO,
                                                      FIREARMS & EXPLOSIVES

        Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1
by telephone, this 12th day of January 2023.
                                                        G. Michael Digitally    signed by G.
                                                                       Michael Harvey

                                                        Harvey         Date: 2023.01.12
                                                      ___________________________________
                                                                       20:03:20 -05'00'
                                                      HONORABLE G. MICHAEL HARVEY
                                                      UNITED STATES MAGISTRATE JUDGE
